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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )      Criminal No. 3:00-cr-246
                                              )
       v.                                     )
                                              )
AGRON M. SIMPSON,                             )      REPORT TO THE COURT
                                              )
       Defendant.                             )


       COMES NOW the United States of America, and files its Report To The Court concerning

the Defendant's eligibility for a sentence reduction under 18 U.S.C. § 3582(c)(2) and U.S.S.G. §

1B1.10.

       1. The Defendant's Original Sentence. A Judgment In A Criminal Case was entered

against the defendant on May 17, 2001 (Doc. # 43). The defendant was found guilty of conspiracy

to distribute cocaine base and possession with intent to distribute 50 grams or more of cocaine and

500 grams and more of cocaine base, in violation of 21 U.S.C. § 846 and 841(b)(1)(A). (Doc. 43).

The Court determined that his offense level was 35 and his criminal history category was IV, which

required a sentencing range of 235 - 293 months. This was the range calculated in the PSR under

U.S.S.G. § 2D1.1 for 567 grams of cocaine base and 141.75 grams of cocaine, a two level

enhancement under U.S.S.G. § 2D1.1(b)(1) for possession of a firearm in connection with the
offense, and a three level reduction under U.S.S.G. § 3E1.1 for accepting responsibility. PSR at ¶

39 - 55. The court sentenced the defendant to 235 months imprisonment. (Doc. # 43).

       2. Probation's Analysis. The United States Pretrial Services and Probation Office has

determined that the defendant is eligible for a sentence reduction.

       3. Government's Conclusion. Pursuant to the U.S. Sentencing Commission's amendment

effective May 1, 2008 involving multi-drug cases that include cocaine base, the combined offense

level is to be determined under U.S.S.G. § 2D1.1 and its application notes, and the combined level

is then to be reduced by two levels. With 11,368 kilograms of marijuana equivalent, the defendant's

base offense level under the new guidelines would remain unchanged at level 36. However, the two
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level reduction required by the recent amendment would apply, and, after application of the gun

enhancement and acceptance of responsibility reduction, his adjusted level would be 33 (188 - 235).

The defendant is currently serving a sentence at the high end of this range, and is eligible for, but

not required to receive, a sentence reduction.

        Dated this 22nd day of May, 2008.

                                                             United States of America

                                                             Matthew G. Whitaker
                                                             United States Attorney

                                                    By:        /s/ Craig Peyton Gaumer
                                                             Craig Peyton Gaumer
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                                         CERTIFICATE OF SERVICE
        I hereby certify that I did on this 22nd day of May, 2008 electronically file the foregoing with the Clerk
of Court using the EFC system which will send notification of such filing to the following:
        James Clements, Defense Counsel
                                                               \s\ K. Ramirez
                                                             Paralegal Specialist




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